Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 1 of 44 Page ID #:3026




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  16                          UNITED STATES DISTRICT COURT
  17                         CENTRAL DISTRICT OF CALIFORNIA
  18                               WESTERN DIVISION
  19                                             Case No.: 2:21-cv-02840-AB-AFM
        CLEVELAND CONSTANTINE
  20    BROWNE, ET AL.,                          NOTICE AND MOTION TO DISMISS
  21                                             PURSUANT TO FRCP 8 AND
                      Plaintiffs,                12(b)(6); MEMORANDUM OF
  22          v.                                 POINTS AND AUTHORITIES IN
  23                                             SUPPORT
        RODNEY SEBASTIAN CLARK, an               (Declaration of Benjamin S. Akley and
  24    individual, ET AL.,                      Request for Judicial Notice Filed
  25                                             Concurrently)
        Defendants.
  26                                             Date: September 22, 2023
  27                                             Time:10:00 a.m.
                                                 Place: Courtroom 7B
  28
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 2 of 44 Page ID #:3027




   1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on September 22, 2023 at 10:00 a.m., or as soon
   3   thereafter as the matter may be heard in Courtroom 7B of this Court, located at 350 W.
   4   1st Street, Los Angeles, CA 90012, the defendants represented by Pryor Cashman, LLP,
   5   as set forth on Appendix A attached to this Notice (collectively, “Pryor Cashman-
   6   Represented Defendants”) will and hereby do move the Court for an order dismissing
   7   the Second Consolidated Amended Complaint, which was filed in this action on April
   8   21, 2023 (“SCAC”) by plaintiffs Cleveland Constantine Browne, Anika Johnson, as
   9   personal representative and executor of the Estate of Wycliffe Johnson, deceased, Steely
  10   & Clevie Productions Ltd., and Carl Gibson, as personal representative and executor of
  11   the Estate of Ephraim Barrett (“Plaintiffs”) pursuant to Federal Rules of Civil Procedure
  12   8 and 12(b)(6).
  13         Defendants’ Motion is based upon this Notice, the accompanying Memorandum
  14   of Points and Authorities, Declaration of Benjamin S. Akley, and Request for Judicial
  15   Notice, any reply memorandum, the pleadings and files in this action, and such other
  16   matters as may be presented at or before the hearing.
  17         This motion is made following a telephonic conference of counsel pursuant to
  18   L.R. 7-3 which took place on June 5, 2023.
  19   Dated: June 15, 2023
  20                             PRYOR CASHMAN LLP
  21
  22                             By:   /s/ Donald S. Zakarin
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 3 of 44 Page ID #:3028




   1                        APPENDIX A TO NOTICE OF MOTION
   2   Pryor Cashman-Represented Defendants:
   3      1.    Alejandro Rengifo p/k/a Cali
   4      2.    Alexander Delgado Hernandez p/k/a Gente De Zona
   5      3.    Andrés Torres
   6      4.    Andy Clay Cruz p/k/a Andy Clay
   7      5.    Antón Álvarez Alfaro p/k/a C. Tangana
   8      6.    Armando Christian Pérez p/k/a Pitbull
   9      7.    Aura Music LLC
  10      8.    BMG Rights Management, LLC
  11      9.    Carbon Fiber Music, Inc.
  12      10.   Carlos Efrén Reyes Rosado p/k/a Farruko
  13      11.   Carlos Isaías Morales Williams p/k/a Sech
  14      12.   Carlos Ortiz Rivera p/k/a Chris Jeday a/k/a Chris Jedi
  15      13.   Carolina Giraldo Navarro p/k/a Karol G
  16      14.   Christian Mena p/k/a Saga WhiteBlack
  17      15.   Concord Music Group, LLC
  18      16.   Danna Paola Rivera Munguía p/k/a Danna Paola
  19      17.   Daniel Alejandro Morales Reyes p/k/a Danny Ocean
  20      18.   Dimelo Vi, LLC
  21      19.   Duars Entertainment Corp.
  22      20.   Edgar Semper (collectively p/k/a Mambo Kingz)
  23      21.   Edwin Vázquez Vega p/k/a Maldy (erroneously named as “Edwin Vasquez
  24            Vega p/k/a Maldy” within the Second Consolidated Amended Complaint
  25            (“SCAC”))
  26      22.   El Cartel Records, Inc.
  27      23.   Energy Music Corp.
  28      24.   Enrique Iglesias p/k/a Enrique Iglesias
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 4 of 44 Page ID #:3029




   1      25.   Enrique Martin-Morales p/k/a Ricky Martin
   2      26.   Eric Alberto-Lopez p/k/a Ape Drums
   3      27.   Eric Pérez Rovira p/k/a Eric Duars
   4      28.   Erika María Ender Simões p/k/a Erica Ender
   5      29.   Flow La Movie, Inc.
   6      30.   Gasolina Publishing Co.
   7      31.   Glad Empire Live, LLC
   8      32.   Hear This Music, LLC
   9      33.   Hipgnosis Songs Group, LLC
  10      34.   Jason Joel Desrouleaux p/k/a Jason Derulo
  11      35.   Javier Alexander Salazar p/k/a Alex Sensation
  12      36.   Jorge Valdes Vasquez p/k/a Dimelo Flow
  13      37.   José Álvaro Osorio Balvín p/k/a J Balvin
  14      38.   Juan Carlos Ozuna Rosado p/k/a Ozuna
  15      39.   Juan Carlos Salinas Jr. p/k/a Play (a/k/a “Play-N-Skillz”)
  16      40.   Juan G. Rivera Vásquez p/k/a Gaby Music
  17      41.   Julio Alberto Cruz García p/k/a Casper Mágico
  18      42.   Julio Manuel González Tavárez p/k/a Lenny Tavárez
  19      43.   Justin Bieber
  20      44.   Justin Rafael Quiles Rivera p/k/a Justin Quiles a/k/a J Quiles
  21      45.   Kobalt Music Publishing America, Inc.
  22      46.   Kobalt Music Publishing Ltd.
  23      47.   Larissa de Macedo Machado p/k/a Anitta (erroneously named as “Larissa de
  24            Marcedo Machado p/k/a Anitta” within the Second Consolidated Amended
  25            Complaint (“SCAC”))
  26      48.   Luian Malavé Nieves p/k/a DJ Luian (erroneously named as “Luian Malave
  27            p/k/a DJ Luian” within the Second Consolidated Amended Complaint
  28            (“SCAC”))
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 5 of 44 Page ID #:3030




   1      49.   Luis Alfonso Rodríguez López-Cepero p/k/a Luis Fonsi
   2      50.   Luis Angel O’Neill Laureano p/k/a O’Neill
   3      51.   Luis Antonio Quiñones García p/k/a Nio Garcia
   4      52.   Mad Decent Protocol LLC
   5      53.   Mad Decent Publishing, LLC
   6      54.   Manuel Turizo Zapata p/k/a Manuel Turizo
   7      55.   Marcos D. Pérez p/k/a Sharo Towers a/k/a Sharo Torres
   8      56.   Marcos Masis p/k/a Tainy
   9      57.   Mauricio Alberto Reglero Rodríguez p/k/a Mau a/k/a Mau y Ricky
  10      58.   Mauricio Rengifo p/k/a El Dandee (erroneously named as “Maurivio Rengifo
  11            p/k/a El Dandee” within the SCAC)
  12      59.   Miguel Andrés Martínez Perea p/k/a Slow Mike
  13      60.   Natalia Amapola Alexandra Gutiérrez Batista p/k/a Natti Natasha
  14      61.   Nick Rivera Caminero p/k/a Nicky Jam
  15      62.   Oscar Edward Salinas p/k/a Skillz (a/k/a “Play-N-Skillz”)
  16      63.   Paulo Ezequiel Londra Farías p/k/a Paulo Londra
  17      64.   Peermusic III, Ltd.
  18      65.   Pulse 2.0, LLC (erroneously named as “Pulse Records, Inc.” on the SCAC)
  19      66.   Randy Malcom Martinez p/k/a Gente De Zona
  20      67.   Ramón Luis Ayala Rodríguez p/k/a Daddy Yankee
  21      68.   Raúl Alejandro Ocasio Ruiz p/k/a Rauw Alejandro
  22      69.   Rebbeca Marie Gomez p/k/a Becky G
  23      70.   Ricardo Andres Reglero Rodriguez p/k/a Ricky (Mau y Ricky)
  24      71.   Rodney Sebastián Clark Donalds p/k/a El Chombo
  25      72.   Rosalía Vila Tobella p/k/a Rosalía (erroneously named as “Rosalia Vila I
  26            Tobella p/k/a Rosalia” on the SCAC)
  27      73.   Salomón Villada Hoyos p/k/a Feid
  28      74.   Sebastián Obando Giraldo p/k/a Sebastián Yatra
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 6 of 44 Page ID #:3031




   1      75.   Silvestre Francisco Dangond Corrales p/k/a Silvestre Dangond
   2      76.   Solar Music Rights Management Limited
   3      77.   Sony Music Entertainment d/b/a Ultra Music
   4      78.   Sony Music Entertainment US Latin, LLC
   5      79.   Sony Music Publishing, LLC
   6      80.   Sony/ATV Music Publishing Ltd.
   7      81.   Stephanie Victoria Allen p/k/a Stefflon Don
   8      82.   The Royalty Network, Inc.
   9      83.   Thomas Wesley Pentz p/k/a Diplo
  10      84.   Ultra Records, LLC
  11      85.   Universal Music Publishing, Inc.
  12      86.   UMG Recordings, Inc.
  13      87.   Vydia, Inc.
  14      88.   Warner Chappell Music Inc
  15      89.   Xavier Semper (collectively p/k/a Mambo Kingz)
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 7 of 44 Page ID #:3032




   1                                           TABLE OF CONTENTS
   2   TABLE OF AUTHORITIES .......................................................................................... iii
   3   MEMORANDUM OF POINTS AND AUTHORITIES................................................. 1
   4         I.    PRELIMINARY STATEMENT ..................................................................... 1
   5         II.   RELEVANT BACKGROUND ....................................................................... 4
   6               A. Plaintiffs’ Alleged Creation Of Fish Market And
   7                  Claimed Ownership Of Four Works ........................................................ 4
   8               B.     The Allegedly Infringing Works And Defendants ................................... 5
   9               C.     The Prior Iterations Of Dem Bow Litigation ............................................ 5
  10               D. Plaintiffs’ Copyright Registrations ........................................................... 7
  11         III. LEGAL STANDARDS .................................................................................... 8
  12               A. FRCP 8 And FRCP 12 Pleading Standards .............................................. 8
  13
                   B.     Pleading Standards Applied To Infringement Actions ............................ 9
  14
             IV. ARGUMENT ................................................................................................. 10
  15
                   A. Plaintiffs Improperly Claim Infringement Of Works
  16                  They Do Not Own And For Which They Have No
  17                  Standing To Sue ..................................................................................... 10
  18                      1.    All Claims Based On The Belated Registration
                                For Pounder Dub Mix II Should Be Dismissed.............................. 11
  19
                          2.    Plaintiffs’ Claims Based On The Music (Not The
  20
                                Lyrics) Of Dem Bow Must Be Dismissed ...................................... 12
  21
                   B.     Plaintiffs’ Transitive Infringement “By Extension”
  22                      Theory Does Not Satisfy FRCP 12(b)(6) ............................................... 12
  23               C.     The SCAC Fails To Distinguish Between Sound
  24                      Recordings And Musical Compositions ................................................. 15
  25               D. Even For Works Alleged To Infringe Timely-Registered
  26                  Copyrights, Plaintiffs Fail To Satisfy The Relevant
                      Pleading Standards ................................................................................. 18
  27
                          1.    Pleading By Exhibit ........................................................................ 18
  28                                                      i
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 8 of 44 Page ID #:3033




   1                    2.     Deficient Allegations Of The Infringement Of
   2                           The Fish Market Composition ........................................................ 20

   3                    3.     Deficient Allegations Of The Infringement Of The
                               Fish Market Sound Recording ........................................................ 21
   4
                        4.     Deficient Allegations Of The Infringement Of The
   5                           Lyrics Of The Dem Bow Composition ........................................... 21
   6
                 E.     The SCAC Is The Quintessential “Shotgun Pleading” .......................... 22
   7
                 F.     In The Few Instances Where Plaintiffs Identify Alleged
   8                    “Similarities” Between A Defendant’s Work And Fish
   9                    Market, The Allegations Concern Non-Protectable
                        Elements And Demonstrate No Similarity ............................................. 23
  10
                 G. Plaintiffs’ Inaction For Thirty Years Bars Their Claims
  11
                    And Remedies ........................................................................................ 26
  12
                 H. Plaintiffs Fail To State A Claim For Secondary Liability...................... 27
  13
           V. Conclusion ...................................................................................................... 30
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28                                                              ii
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 9 of 44 Page ID #:3034




   1                                             TABLE OF AUTHORITIES
   2                                                                                                                       PAGE(s)
   3
       CASES
   4
       A&M Recs. v. Napster, Inc.,
   5     239 F.3d 1004 (9th Cir. 2000) ............................................................................ 28, 29
   6
       Anthony v. Pro Custom Solar, LLC,
   7      No. ED CV 20-01968 JAK, 2022 WL 1634870 (C.D. Cal. Jan. 21, 2022) ............. 16
   8   Arikat v. JP Morgan Chase & Co.,
   9      430 F. Supp. 2d 1013 (N.D. Cal. 2006).................................................................... 29
  10   Ashcroft v. Iqbal,
  11      556 U.S. 662 (2009) ......................................................................................... 8, 9, 18

  12   Batiste v. Najm,
          28 F. Supp. 3d 595 (E.D. La. 2014) ......................................................................... 24
  13
  14   Bell Atl. Corp. v. Twombly,
          550 U.S. 544 (2007) ................................................................................. 9, 19, 21, 28
  15
       Blizzard Ent., Inc. v. Lilith Games (Shanghai) Co.,
  16      No. 15-cv-04084-CRB, 2018 WL 1242053 (N.D. Cal. Mar. 8, 2018) .............. 10, 14
  17
       BWP Media USA, Inc. v. Linkbucks.com, LLC,
  18     CV 14-689-JFW, 2014 WL 12596429 (C.D. Cal. Aug. 8, 2014) ............................ 28
  19   Chestang v. Yahoo Inc.,
  20     No. 2:11-cv-00989-MCE-KJN PS, 2012 WL 3915957 (C.D. Cal. Sept.
         7, 2012) ..................................................................................................................... 22
  21
  22   Christianson v. West Pub. Co.,
         149 F.2d 202 (9th Cir. 1945) .................................................................................... 26
  23
       Culinary Studios, Inc. v. Newsom,
  24     517 F. Supp. 3d 1042 (E.D. Cal. 2021) .................................................................... 29
  25
       Currin v. Arista Recs., Inc.,
  26     724 F. Supp. 2d 286 .................................................................................................. 24
  27   Drive-In Music Co., Inc. v. Sony Music Ent.,
  28      No. CV 10-5613 CAS, 2011 WL 13217236  iii (C.D. Cal. Apr. 18, 2011) .................. 17
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 10 of 44 Page ID #:3035




    1   Elohim EPF USA, Inc. v. Total Music Connection, Inc.,
           No. CV 14-02496-BRO (Ex), 2015 WL 12655556 (C.D. Cal. Oct. 1, 2015) ........... 9
    2
    3   Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc.,
           499 U.S. 340 (1991) ............................................................................................. 9, 10
    4
        Fharmacy Recs. v. Nassar,
    5
          248 F.R.D. 507 (E.D. Mich. 2008), aff'd, 379 F. App’x 522 (6th Cir. 2010) .......... 16
    6
        Field v. Google,
    7      412 F. Supp. 2d 1106 (D. Nev. 2006) ...................................................................... 26
    8
        Fournerat v. Veterans Admin.,
    9     No. EDCV 19-0961 AB (AS), 2020 WL 541839 (C.D. Cal. Apr. 22,
   10     2020) (Birotte, J.)............................................................................................ 2, 22, 29

   11   Fourth Est. Pub. Benefit Corp. v. Wall-Street.com, LLC,
          139 S. Ct. 881 (2019)................................................................................................ 11
   12
   13   Gray v. Hudson,
          28 F.4th 87 (9th Cir. 2022) ........................................................................... 14, 23, 24
   14
        Gray v. Perry,
   15     No. 2:15-CV-05642-CAS-JCx, 2020 WL 1275221 (C.D. Cal. Mar. 16,
   16     2020) ................................................................................................................... 10, 25
   17   Hayes v. Minaj,
   18     No. 2:12-cv-07972-SVW-SH, 2012 WL 12887393 (C.D. Cal. Dec. 18,
          2012) ............................................................................................................... 9, 14, 21
   19
        Hayes v. West,
   20     No. CV 12-7974-GW, 2013 WL 12218468 (C.D. Cal. May 13, 2013) ................... 10
   21
        Interscope Recs. v. Time Warner, Inc.,
   22      CV 10-1662 SVW (PJWx), 2010 WL 11505708 (C.D. Cal. June 28, 2010) .......... 26
   23   Izmo, Inc. v. Roadster, Inc.,
   24      No. 18-cv-06092-NC, 2019 WL 2359228 (N.D. Cal. June 4, 2019) ....................... 11
   25   Johnson v. Gordon,
   26      409 F.3d 12 (1st Cir. 2005) ...................................................................................... 15

   27   Kabbaj v. Obama,
          568 F. App’x 875 (11th Cir. 2014) ........................................................................... 29
   28                                               iv
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 11 of 44 Page ID #:3036




    1   Kifle v. YouTube LLC,
           No. 21-cv-01752-CRB, 2021 WL 1530942 (N.D. Cal. April 19, 2021) ................. 11
    2
    3   Kilina Am., Inc. v. SA & PW, Inc,.
           CV 19-03786-CJC, 2019 WL 8685066 (C.D. Cal. Aug. 27, 2019) ......................... 29
    4
        Knievel v. ESPN,
    5
          393 F.3d 1068 (9th Cir. 2005) .................................................................................... 9
    6
        Lafarga v. Lowrider Arte Mag.,
    7      No. SACV 11-1501-DOC, 2014 WL 12573551 (C.D. Cal. July 18, 2018) ............ 18
    8
        Lane v. Knowles-Carter,
    9     14 CIV. 6798 PAE, 2015 WL 6395940 (S.D.N.Y. Oct. 21, 2015) .......................... 24
   10   Lynwood Invs. CY Ltd. v. Konovalov,
   11      No. 20-cv-03778-MMC, 2022 WL 3370795 (N.D. Cal. Aug. 16, 2022) ................ 20
   12   Malibu Media, LLC v. Doe,
   13     18-CV-10956 (JMF), 2019 WL 1454317 (S.D.N.Y. Apr. 2, 2019)......................... 11

   14   Marshall v. Huffman,
          No. C 10-1665 SI, 2010 WL 5115418 (N.D. Cal. Dec. 9, 2010) ....................... 17, 18
   15
   16   Martinez v. Robinhood Crypto, LLC,
          No. 2:22-cv-2651-AB-KS, 2023 WL 2836792 (C.D. Cal. Feb. 28,
   17     2023) (Birotte, J.)................................................................................................ 20, 22
   18   McDonald v. West,
   19     138 F. Supp. 3d 448 (S.D.N.Y. 2015), aff'd, 669 Fed. Appx. 59 (2d
          Cir. 2016) .................................................................................................................. 24
   20
   21   Merchant Transaction Sys., Inc. v. Nelcela, Inc.,
          No. CV 02-1954-PHX-MHM, 2009 WL 2355807 (D. Ariz., July 28,
   22     2009) ......................................................................................................................... 15
   23   Newton v. Diamond,
   24     204 F. Supp. 2d 1244 (C.D. Cal. 2002) .............................................................. 14, 17
   25   Newton v. Diamond,
   26     388 F.3d 1189 (9th Cir. 2004), cert. denied, 545 U.S. 1114 (2005) ........................ 16

   27   Perfect 10, Inc. v. Visa Int’l Serv. Ass’n,
           494 F.3d 788 (9th Cir. 2007) .................................................................................... 27
   28                                                    v
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 12 of 44 Page ID #:3037




    1   Petrella v. Metro-Goldwyn-Mayer, Inc.,
           134 S. Ct. 1962 (2014)........................................................................................ 26, 27
    2
    3   Plakhova v. Hood,
           No. CV 16-08245 TJH, 2017 WL 10592315 (C.D. Cal. June 20, 2017) ................. 20
    4
        Rice v. Fox Broadcasting Co.,
    5
           148 F. Supp. 2d 1029 (C.D. Cal. 2001), aff’d in part, rev’d in part, 330
    6      F.3d 1170 (9th Cir. 2003) ........................................................................................... 9
    7   Richtek Tech. Corp. v. UPI Semiconductor Corp.,
    8      No. C 09-05659 WHA, 2011 WL 166198 (N.D. Cal. Jan. 18, 2011) ...................... 20
    9   Ricketts v. Haah,
   10      No. 2:13-CV-00521-ODW, 2013 WL 3242947 (C.D. Cal. June 26, 2013) .............. 9

   11   Rose v Hewson,
          No. 17-cv-1471, 2018 WL 626350 (S.D.N.Y. Jan. 30, 2018) ................................. 24
   12
   13   Shaheed-Edwards v. Syco Ent., Inc.,
           CV 17-06579 SJO (SS), 2017 WL 6403091 (C.D. Cal. Dec. 14, 2017) ............ 10, 14
   14
        Skidmore v. Led Zeppelin,
   15      952 F.3d 1051 (9th Cir. 2020) ............................................................................ 10, 24
   16
        Sound & Color, LLC v. Smith,
   17      No 2:22-cv-01508-AB, 2023 WL 2821881 (C.D. Cal. Feb. 28, 2023)
   18      (Birotte, J.) .................................................................................................... 28, 29, 30

   19   Steel Warehouse Cleveland, LLC v. Velocity Outdoor, Inc.,
           No. 1:22-cv-01900, 2023 WL 2264257 (N.D. Ohio Feb. 28, 2023) ........................ 16
   20
   21   Steward v. West,
           CV13-02449 BRO (JCx), 2014 WL 12591933 (C.D. Cal Aug. 14, 2014) .............. 26
   22
        Sybersound Recs., Inc. v. UAV Corp.,
   23      517 F.3d 1137 (9th Cir. 2008) .................................................................................... 9
   24
        Synopsys, Inc. v. AtopTech, Inc.,
   25      No. C 13-cv-02965 SC, 2013 WL 5770542 (N.D. Cal. Oct. 24, 2013) ................... 20
   26   Tavory v. NTP, Inc.,
   27      495 F. Supp. 2d 531 (E.D. Va. 2007), aff’d, 297 F. App’x 976 (Fed.
           Cir. 2008) .................................................................................................................. 26
   28                                                                vi
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 13 of 44 Page ID #:3038




    1   Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
           551 U.S. 308 (2007) ................................................................................................... 9
    2
    3   Weber v. Dep’t of Veterans Affairs,
          521 F.3d 1061 (9th Cir. 2008) .................................................................................... 8
    4
        Zany Toys, LLC v. Pearl Enters., LLC,
    5
          No. 13-5262 (JAP)(TJB), 2014 WL 2168415 (D. N.J. May 23, 2014) ............. 17, 18
    6
        Zeleny v. Burge,
    7      No. 2:21-CV-05103-AB, 2022 WL 3013138 (C.D. Cal. July 1, 2022)
    8      (Birotte, J.) .......................................................................................................... 11, 30
    9   STATUTES AND RULES
   10   17 U.S.C. § 104(b) ........................................................................................................... 8
   11
        17 U.S.C. § 114(b) ......................................................................................................... 17
   12
        17 U.S.C. § 410(c) ........................................................................................................... 7
   13
   14   17 U.S.C. § 411(a) ......................................................................................................... 11

   15   FRCP 8 .................................................................................................................... passim
   16   FRCP 12(b)(6) ........................................................................................................ passim
   17   OTHER AUTHORITIES
   18
        5 Wright and Miller, Federal Practice and Procedure § 1285 (3d Ed.
   19      2004) ......................................................................................................................... 16
   20   Copyright Office, Circular 50: Copyright Registration for Musical
   21     Compositions (Mar. 2023), available at
          https://www.copyright.gov/circs/circ50.pdf ............................................................. 17
   22
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 14 of 44 Page ID #:3039




    1                  MEMORANDUM OF POINTS AND AUTHORITIES
    2         The defendants represented by Pryor Cashman LLP, as enumerated within
    3   Appendix A herein (collectively, “Pryor Cashman-Represented Defendants”),
    4   respectfully submit this memorandum of law in support of their motion, pursuant to Fed.
    5   R. Civ. P. (“FRCP”) Rules 8 and 12(b)(6), to dismiss the Complaint filed in this action
    6   (“Complaint”) by plaintiffs Cleveland Constantine Browne, Anika Johnson, as the
    7   alleged personal representative and executor of the Estate of Wycliffe Johnson, Steely
    8   & Clevie Productions Ltd., and Carl Gibson, as the alleged personal representative and
    9   executor of the Estate of Ephraim Barrett (“Plaintiffs”).1
   10   I.    PRELIMINARY STATEMENT
   11         Plaintiffs’ Second Consolidated Amended Complaint (“SCAC”) is the sixth
   12   complaint that they have filed in this action. In this iteration Plaintiffs have massively
   13   expanded the number of allegedly infringing works2 and the number of defendants,
   14   effectively claiming ownership of an entire genre of music by claiming exclusive rights
   15   to the rhythm and other unprotectable musical elements common to all “reggaeton”-
   16   style songs. Yet, Plaintiffs’ 228-page, 683-paragraph SCAC fails to plead the most
   17   fundamental elements of a copyright infringement claim: it fails to plead facts showing
   18   what works Plaintiffs actually own and on which they have standing to sue; it fails to
   19   identify what protectable elements in which musical compositions or sound recordings
   20   have allegedly been infringed; and, it fails to allege what elements in each of the
   21   1
          “Defendants” refers to all of the named defendants in this action, whether or not they
   22   are party to this motion. Unless otherwise noted, all emphases herein are supplied, and
   23   all internal citations and quotations are omitted or “cleaned up.”
        2
   24       It is impossible to determine from the SCAC whether the number of allegedly
        infringing works is over 1,800 or nearly 4,000 or more because the SCAC fails to specify
   25   whether Plaintiffs’ claims concern musical compositions, sound recordings, or both.
   26   Defendants’ best-guess estimate ranges from 1,821 to around 4,000 because there are
        irreconcilable differences between the works mentioned in the SCAC and the
   27   accompanying Exhibit A and because sound recordings and compositions are separate
   28   works.
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 15 of 44 Page ID #:3040




    1   Defendants’ works are allegedly infringing or even, at its most basic, whether what is
    2   allegedly infringing is a musical composition, sound recording or both.
    3         The complete lack of clarity is no accident. Rather, it is designed to obscure,
    4   inter alia, what works and rights Plaintiffs own and what it is that is allegedly infringing,
    5   by whom and how. This Court has made clear that a complaint that lacks “clarity as to
    6   whom plaintiffs are suing for what wrongs, fails to perform the essential functions of a
    7   complaint.” Fournerat v. Veterans Admin., No. EDCV 19-0961 AB (AS), 2020 WL
    8   541839, at *3 (C.D. Cal. Apr. 22, 2020) (Birotte, J.).
    9         The SCAC fails to satisfy FRCP 8 and 12(b)(6) for at least ten reasons:
   10         (1)    Plaintiffs do not own and have no standing to assert claims for
   11   infringement of the music of Dem Bow, the Pounder Riddim, or Pounder Dub Mix II.
   12   Yet, the SCAC repeatedly alleges infringement of those works, and infringement of
   13   Fish Market (a work that Plaintiffs may own) “by extension” through copying
   14   unspecified portions of one or more of those works (as to which Plaintiffs never
   15   registered any claimed interest).
   16         (2)    The SCAC does not identify what elements in the Fish Market composition
   17   have been infringed and Plaintiffs have provided transcriptions identifying alleged
   18   similarities for only 33 of the 1,821-4,000 allegedly infringing works. By providing 33
   19   transcriptions, Plaintiffs show both that they know what the pleading requirements are
   20   and also that none of the Defendants’ works copied protectable elements from the Fish
   21   Market composition.
   22         (3)    Where the SCAC purports to allege that some of the allegedly infringing
   23   works incorporate a sample of the Fish Market sound recording, it offers only
   24   conclusory allegations without pleading any facts or identifying the sample.
   25         (4)    The SCAC improperly uses the disjunctive “and/or” and the undefined
   26   word “Songs” on an Exhibit to the SCAC to obscure whether the infringement claim
   27   relates to the Fish Market composition or the Fish Market sound recording and whether
   28   the infringing work is a musical composition, sound recording or both. Musical
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 16 of 44 Page ID #:3041




    1   compositions and sound recordings involve different Defendants and have different
    2   infringement requirements.
    3         (5)     The SCAC does not identify a single lyrical similarity between Dem Bow
    4   and any allegedly infringing composition.
    5         (6)     The SCAC does not have any factual allegations at all as to 42 Defendants.
    6         (7)     The SCAC impermissibly “pleads infringement by exhibit” (Exhibit A),
    7   but the Exhibit does not identify what protectable elements in Plaintiffs’ works have
    8   been infringed and what in Defendants’ works is infringing.
    9         (8)     The SCAC is a “shotgun pleading” filled with conclusory allegations that
   10   lump Defendants together, making it impossible for Defendants to determine what each
   11   is alleged to have done, what works are at issue and what in those works is allegedly
   12   infringing.
   13         (9)     Plaintiffs’ inaction for thirty years, both in registering or asserting any
   14   claim to the works they now claim to own, or in seeking to enforce their purported rights
   15   with respect to the alleged use of such works in Pounder Riddim, bars their claims or
   16   remedies.
   17         (10) The SCAC fails to state a claim for secondary liability, conclusorily
   18   asserting that all Defendants – competitors who created, released or otherwise exploited
   19   thousands of separate works over thirty years – acted “in concert” with each other, an
   20   implausible allegation. It also lacks any viable direct infringement claim, a prerequisite
   21   to a claim for vicarious infringement.
   22         Having had six opportunities to plead properly, and failing, Plaintiffs’ SCAC
   23   should be dismissed with prejudice.
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 17 of 44 Page ID #:3042




    1   II.     RELEVANT BACKGROUND3
    2   A.      Plaintiffs’ Alleged Creation Of Fish Market And
    3           Claimed Ownership Of Four Works.
    4           Plaintiffs claim to own rights in four works: (i) the Fish Market musical
    5   composition; (ii) the Fish Market sound recording; (iii) the Dem Bow musical
    6   composition; and (iv) the Pounder Dub Mix II sound recording. (SCAC ¶¶ 4-7; 179-
    7   184.)
    8           Browne and Johnson allegedly wrote and recorded Fish Market in Jamaica in
    9   1989. (Id. ¶¶ 175, 179, 185.) Fish Market is an instrumental work consisting of:
   10           an original drum pattern . . . a programmed kick, snare, and hi-hat
                playing a one bar pattern[,] percussion instruments, including a
   11
                tambourine playing through the entire bar, a synthesized ‘tom’ playing
   12           on beats one and three, and timbales that play a roll at the end of every
                second bar and free improvisation over the pattern for the duration of
   13
                the song[,] and a synthesized Bb (b-flat) bass note on beats one and
   14           three of each bar, which follows the aforementioned synthesized ‘tom’
                pattern.” (Id. ¶ 180.)
   15
   16           Browne and Johnson also allegedly co-authored a different musical composition,
   17   Dem Bow.4 (Id. ¶ 181.) After Dem Bow’s release, Denis Halliburton – who is neither
   18   a plaintiff nor a defendant in this action – allegedly “copied Dem Bow’s instrumental,
   19   sound, arrangement, and composition, including the drum pattern, the drum
   20   components, including the kick, snare, hi-hat, tom and timbales as well as the full
   21   bassline.” (Id. ¶ 183.) Plaintiffs claim that Halliburton’s composition, Pounder Riddim,
   22   is “virtually identical” to, and in the SCAC, claim it as a “derivative work” of Fish
   23   Market. (Id.)
   24
   25   3
          The Relevant Background “facts” set forth below are taken from the SCAC and are
   26   assumed to be true solely for the purpose of this motion.
        4
          As discussed below, Plaintiff’s copyright in Dem Bow is limited only to the lyrics in
   27
        the work, i.e., Plaintiffs cannot state any claims to the extent they are based any copying
   28   of Dem Bow’s instrumental (music).
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 18 of 44 Page ID #:3043




    1         But Plaintiffs’ claim that Pounder Riddim is a derivative work is contrary to
    2   undisputed facts: it is not registered as a derivative work and in over 30 years, Plaintiffs
    3   never claimed they owned Pounder Riddim or that Halliburton infringed Fish Market.
    4   Indeed, Plaintiffs do not assert in this case that Pounder Riddim infringes their works.
    5   (See id. ¶¶ 182-189; see also id. Ex. A.) And, while Plaintiffs make the conclusory
    6   allegation that Pounder Riddim is “virtually identical” to Fish Market, they provide no
    7   comparison of the two works (despite pleading that “Transcripts of portions of Fish
    8   Market and the Pounder Riddim are shown below,” no such transcripts are provided).
    9   (Id. ¶ 188.)
   10         Despite not possessing any interest in Pounder Riddim, Plaintiffs nevertheless
   11   use it as a stepping stone, claiming it was used to create the sound recording for Pounder
   12   Dub Mix II, and that Pounder Dub Mix II “has been sampled by numerous Defendants”
   13   since its release in 1990. (Id. ¶ 184.) But Plaintiffs never claimed nor registered any
   14   interest in Pounder Dub Mix II until March 23, 2023 – long after initiating this action
   15   and 33 years after Pounder Dub Mix II was released.
   16   B.    The Allegedly Infringing Works And Defendants.
   17         The SCAC alleges that anywhere from some 1,821 to 4,000 compositions
   18   “and/or” recordings infringe one or more of the four works identified above. But in
   19   virtually all instances, the SCAC does not identify which work was infringed or whether
   20   the infringing work is a composition or recording (or both). (See, e.g., id. ¶¶ 197-199.)
   21         Beyond the massive number of allegedly infringing works, there are also some
   22   163 Defendants, including world-famous artists, music producers, award-winning
   23   songwriters, record labels and music publishing companies. Without any clarity as to
   24   who did what, the SCAC alleges that each Defendant had some alleged involvement in
   25   the creation or exploitation of the allegedly “Infringing Works.” (Id. ¶ 190.)
   26   C.    The Prior Iterations Of Dem Bow Litigation.
   27         Since this action was commenced on April 1, 2021, through six complaints, it has
   28   grown by leaps and bounds. The original complaint was against 13 defendants and
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 19 of 44 Page ID #:3044




    1   involved two works that allegedly infringed the Fish Market composition and
    2   recording: Dame tu Cosita, created by El Chombo, as well as the Dame tu Cosita remix,
    3   featuring Karol G and Pitbull. (See Central District of California, Case No. 2:21-cv-
    4   02840-AB-AFM (“Dem Bow I”).)
    5          A second action was commenced on October 19, 2021 (See Central District of
    6   California, Case No. 2:21-cv-08295-AB-AFM (“Dem Bow II”).) In Dem Bow II,
    7   Plaintiffs alleged that 10 Luis Fonsi works (again it is unclear if compositions,
    8   recordings or both), including works featuring performances from Justin Bieber, Rauw
    9   Alejandro, Daddy Yankee and Nicky Jam, infringed Fish Market. A third action was
   10   filed on May 16, 2022 in the Southern District of New York (transferred by the Court
   11   sua sponte on June 6, 2022 and reassigned to this Court as a related case), alleging that
   12   an additional 44 works infringed Fish Market. (See Central District of California, Case
   13   No. 2:22-cv-03827-AB-AFM (“Dem Bow III”).)
   14         This Court granted the motion (Dkt. 89) of Defendants Sony Music
   15   Entertainment, Universal Music Publishing Group and Warner Chappell Music, Inc. to
   16   consolidate the three Dem Bow actions and ordered Plaintiffs to file a consolidated
   17   complaint by July 29, 2022. (Dkt. 93.)
   18         Plaintiffs’ consolidated complaint was limited solely to Fish Market, and alleged
   19   infringement claims against 53 defendants.         (Dkt. 99.) The Court subsequently
   20   authorized Plaintiff to file an amended consolidated complaint by September 23, 2022.
   21   (Dkts. 112, 115.)
   22         Plaintiffs’ First Consolidated Amended Complaint (“FCAC”) was their fifth
   23   complaint. The FCAC dramatically expanded the number of defendants to 163 and the
   24   number of allegedly infringing works to some 1,800 and 4,000 (Dkt. 116), but still only
   25   claimed infringement of Fish Market. (See generally id.) Given the number of
   26   defendants and number of works, as well as the existence of common “gating” issues
   27   (such as protectability and originality), the parties stipulated to, and the Court ordered,
   28   a phased case administration plan to promote judicial efficiency. (See Dkts. 142, 143.)
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 20 of 44 Page ID #:3045




    1         On April 21, 2023, Plaintiffs filed their currently-operative sixth complaint, the
    2   SCAC, dismissing a few defendants but still claiming some 1,800 to 4,000 infringing
    3   works. (Dkt. 305.) For the first time, however, the SCAC advanced a new theory:
    4   infringement of Fish Market “by extension” through copying of some unspecified
    5   portion of Pounder Dub Mix II, for which a copyright registration belatedly was
    6   obtained by Plaintiffs’ litigation counsel only a month before the SCAC was filed (in
    7   March 2023).5
    8   D.    Plaintiffs’ Copyright Registrations.
    9         With respect to the late-filed registration for Pounder Dub Mix II, “[t]he only
   10   parties who are eligible to be the copyright claimant are (i) the author of the work, or
   11   (ii) a copyright owner who owns all of the exclusive rights in the work. . . . A person
   12   or entity who owns one or more – but less than all – of the exclusive rights in a work is
   13   not eligible to be a claimant.” U.S. Copyright Office, Compendium of U.S. Copyright
   14   Office Practices § 404 (3d ed. 2021). The registration identifies Steely & Clevie
   15   Productions Ltd. as a claimant pursuant to a “Transfer: By written agreement” but the
   16   SCAC identifies no agreement by which such entity acquired any rights nor any
   17   relationship between that entity (or Browne or Johnson) and Pounder Dub Mix II, which
   18   the SCAC alleges was created by Denis Halliburton and Ephraim Barrett. (SCAC ¶
   19   182.) The registration identifies the Estate of Ephraim Barrett as the other claimant
   20   pursuant to a “Transfer: By inheritance and written agreement” but again, does not
   21   identify the agreement. Plaintiffs allege only that Barrett was a “producer” on some
   22   unidentified recording (id. ¶ 177), and that Denis Halliburton performed a different
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   24   5
          Under 17 U.S.C. § 410(c), a certificate of a registration is “prima facie evidence of the
   25   validity of the copyright and of the facts stated within the certificate” only if the
   26   certificate is “made before or within five years after first publication of the work,”
        which is not the case for any of Plaintiffs’ registrations. Here, the validity of Plaintiffs’
   27   registrations, including for Pounder Dub Mix II – all filed by one of Plaintiffs’ attorneys
   28   over 30 years after each work was purportedly created – is highly suspect.
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 21 of 44 Page ID #:3046




    1   work – an instrumental version of Dem Bow – “at the direction of Barrett,” to create
    2   another, different work in which Plaintiffs do not claim a copyright interest – the
    3   Pounder Riddim. (Id. ¶ 182) The SCAC does not plead that Barrett made any
    4   contribution to the Pounder Dub Mix II sound recording. (See id.) In any event, without
    5   Halliburton, the registration was not filed by the owner of all rights.
    6          As to the Fish Market composition, the SCAC conspicuously fails to state that
    7   the composition was first published in the U.S. and suggests that it was first published
    8   in Jamaica (SCAC ¶ 185). The location of publication must be specifically alleged, as
    9   Jamaica was not a treaty party with the U.S., making it ineligible for U.S. copyright
   10   registration or protection. 17 U.S.C. § 104(b). Without an allegation that the Fish
   11   Market composition was, in fact, first published in the U.S., this Court’s jurisdiction
   12   cannot be established.6
   13   III.   LEGAL STANDARDS
   14   A.     FRCP 8 And FRCP 12 Pleading Standards
   15          FRCP 8 requires a “short and plain statement of the claim showing that the
   16   pleader is entitled to relief.” FRCP 8(a)(2). A defendant may move to dismiss a
   17   complaint for “failure to state a claim upon which relief can be granted” under FRCP
   18   12(b)(6).
   19          “To survive a motion to dismiss, a complaint must contain sufficient factual
   20   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft
   21   v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
   22   570 (2007)); Weber v. Dep’t of Veterans Affairs, 521 F.3d 1061, 1065 (9th Cir. 2008).
   23   “[B]lanket assertions,” “labels and conclusions,” and a “formulaic recitation of the
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   26     As to the sound recording, Plaintiffs admit it was recorded in Jamaica but claim it was
        first released in the U.S. (SCAC ¶ 185). Defendants believe that is untrue. If this case
   27
        is not dismissed, Defendants intend to demonstrate that the sound recording was not first
   28   released in the U.S.
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 22 of 44 Page ID #:3047




    1   elements of a cause of action” fail to satisfy this threshold. Twombly, 550 U.S. at 555;
    2   see also Iqbal, 556 U.S. at 678.
    3         In ruling on a FRCP 12(b)(6) motion, a court is “not bound to accept as true a
    4   legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678. On such a
    5   motion, the Court may consider “documents incorporated into the complaint by
    6   reference, and matters of which a court may take judicial notice.” Tellabs, Inc. v. Makor
    7   Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). This includes copyright registration
    8   certificates and information from the U.S. Copyright Office’s online public catalog.
    9   See, e.g., Sybersound Recs., Inc. v. UAV Corp., 517 F.3d 1137, 1146 (9th Cir. 2008)
   10   (considering “copies of copyright registration records from the United States Copyright
   11   Office” on a motion to dismiss); Elohim EPF USA, Inc. v. Total Music Connection, Inc.,
   12   No. CV 14-02496-BRO (Ex), 2015 WL 12655556, at *8 (C.D. Cal. Oct. 1, 2015);
   13   Ricketts v. Haah, No. 2:13-CV-00521-ODW, 2013 WL 3242947, at *2 (C.D. Cal. June
   14   26, 2013).
   15         The Court may also consider exhibits attached to a motion to dismiss if the
   16   attached documents are: (1) central to the plaintiff’s claim; and (2) undisputed. See
   17   Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005).
   18   B.    Pleading Standards Applied To Infringement Actions
   19         In infringement actions, Plaintiffs must allege: “(1) ownership of a valid
   20   copyright, and (2) copying of constituent elements of the work that are original.” Feist
   21   Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991).
   22         “[A]bsent direct evidence of copying” a plaintiff may satisfy the copying
   23   elements with “fact-based showings that the defendant had ‘access’ to the plaintiff’s
   24   work and that the two works are ‘substantially similar.’” Rice v. Fox Broadcasting Co.,
   25   148 F. Supp. 2d 1029, 1048 (C.D. Cal. 2001), aff’d in part, rev’d in part, 330 F.3d 1170
   26   (9th Cir. 2003). In a copyright infringement action, the Twombly standard “demands
   27   more than listing elements in [a] vague and conclusory fashion; it requires a plaintiff to
   28   ‘compar[e] those elements for proof of copying.’” Hayes v. Minaj, No. 2:12-cv-07972-
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 23 of 44 Page ID #:3048




    1   SVW-SH, 2012 WL 12887393, at *4 (C.D. Cal. Dec. 18, 2012). A plaintiff must plead
    2   “which portions, aspects, lyrics or other elements of the two works are substantially
    3   similar.” Hayes v. West, No. CV 12-7974-GW (MANx), 2013 WL 12218468, at *5
    4   (C.D. Cal. May 13, 2013); Shaheed-Edwards v. Syco Ent., Inc., CV 17-06579 SJO (SS),
    5   2017 WL 6403091 (C.D. Cal. Dec. 14, 2017); Blizzard Ent., Inc. v. Lilith Games
    6   (Shanghai) Co., No. 15-cv-04084-CRB, 2018 WL 1242053, at *3-5 (N.D. Cal. Mar. 8,
    7   2018) (dismissing claims where plaintiff did not sufficiently allege which elements of
    8   allegedly infringed work were substantially similar to protectable elements in plaintiff’s
    9   works).
   10         Moreover, copyright protection only protects the plaintiff’s protected original
   11   expression. See Feist, 499 U.S. at 348 (“copyright protection may extend only to those
   12   components of a work that are original to the author”); Skidmore v. Led Zeppelin, 952
   13   F.3d 1051, 1064 (9th Cir. 2020) (“[O]nly substantial similarity in protectable expression
   14   may constitute actionable copying that results in infringement liability. . .”); Gray v.
   15   Perry, No. 2:15-CV-05642-CAS-JCx, 2020 WL 1275221, at *6 (C.D. Cal. Mar. 16,
   16   2020). The critical inquiry is whether the defendant copied any original element of the
   17   plaintiff’s work that is protected by copyright law. Feist, 499 U.S. at 348, 361.
   18   IV.   ARGUMENT
   19   A.    Plaintiffs Improperly Claim Infringement Of Works They Do Not Own
   20         And For Which They Have No Standing To Sue
   21         The SCAC alleges that Plaintiffs “possess copyright ownership and U.S.
   22   [copyright] registration” in four works: the Fish Market sound recording, the Fish
   23   Market musical composition, the Dem Bow musical composition, and the Pounder Dub
   24   Mix II sound recording. (SCAC ¶¶ 179, 189, 200.) Yet, no copyright registration is
   25   identified or attached for any of the four works. The failure is no accident because
   26   Plaintiffs lack standing to sue for infringement of anything other than Fish Market and
   27   the lyrics of Dem Bow.
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 24 of 44 Page ID #:3049




    1         1.     All Claims Based On The Belated Registration
    2                For Pounder Dub Mix II Should Be Dismissed
    3         Pounder Dub Mix II was not registered until March 15, 2023 – nearly two years
    4   after Plaintiffs instituted this action. (See Exhibit 1 to the accompanying declaration of
    5   Benjamin Akley (“Akley Decl.”).) 17 U.S.C. § 411(a) “bars a copyright owner from
    6   suing for infringement until ‘registration . . . has been made,’” and registration is not
    7   “made” until the Copyright Office grants the registration. See Fourth Est. Pub. Benefit
    8   Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881, 888 (2019).
    9         Consistent with Fourth Estate, this Court and others have dismissed copyright
   10   actions, without leave to amend, where the action was initiated before the operative
   11   copyright was registered. See, e.g., Zeleny v. Burge, No. 2:21-CV-05103-AB (AGRx),
   12   2022 WL 3013138, at *5 (C.D. Cal. July 1, 2022) (“Because the lack of registration
   13   cannot be cured, leave to amend would be futile.”) (Birotte, J.); Izmo, Inc. v. Roadster,
   14   Inc., No. 18-cv-06092-NC, 2019 WL 2359228, at *2 (N.D. Cal. June 4, 2019)
   15   (dismissing copyright infringement claim with prejudice where the plaintiff failed to
   16   comply with § 411(a)).
   17         This rule applies equally to a claim added by amendment after registration.
   18   Section 411(a) requires registration before a suit is commenced. Plaintiffs are not
   19   permitted to amend to add a new claim based on a post-complaint registration as the
   20   claim could not have been asserted in the original complaint and cannot relate back.
   21   See Izmo, Inc. 2019 WL 2359228, at *2 (“The fact that [the plaintiff] properly
   22   ‘commenced’ this lawsuit as to some of its copyrights does not excuse its failure to
   23   comply with § 411(a) as to its other copyrights.” (Emphasis in original)); Kifle v.
   24   YouTube LLC, No. 21-cv-01752-CRB, 2021 WL 1530942, at *6 (N.D. Cal. April 19,
   25   2021); Malibu Media, LLC v. Doe, 18-CV-10956 (JMF), 2019 WL 1454317, at *2-3
   26   (S.D.N.Y. Apr. 2, 2019) (plaintiff “cannot rely on the relation-back doctrine to
   27   retroactively bestow administrative compliance that did not exist when the plaintiff filed
   28   the initial complaint.”).
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 25 of 44 Page ID #:3050




    1         Accordingly, claims against 85 Defendants as to 126 works based on Pounder
    2   Dub Mix II must be dismissed. (See Akley Decl., Ex. 4, (“§IV.A.1 – Lack of Standing
    3   – Pounder Dub Mix II”).)7
    4         2.     Plaintiffs’ Claims Based On The Music (Not The Lyrics) Of Dem Bow
    5                Must Be Dismissed
    6         There are two copyright registrations for the Dem Bow composition: PA 2264496
    7   and PA 2281747 (see Akley Decl., Ex. 2), neither of which is attached or identified in
    8   the SCAC. (Compare SCAC ¶ 181.) These registrations expressly limit Plaintiffs’
    9   ownership claim to the “lyrics” and “new lyrics” of the Dem Bow composition and
   10   identify the “music” of Dem Bow as “pre-existing material.” As such, Plaintiffs
   11   interest, if any, in the Dem Bow composition is limited solely to the lyrics.
   12         Accordingly, all claims against 22 Defendants as to 8 works alleging
   13   infringement of any music of Dem Bow should be dismissed for lack of standing . (See
   14   Akley Decl., Ex. 4, (“§ IV.A.2 – Lack of Standing – Dem Bow Music”).)
   15   B.    Plaintiffs’ Transitive Infringement “By Extension” Theory Does Not Satisfy
   16         FRCP 12(b)(6)
   17         To expand their claims, Plaintiffs manufactured a chain of alleged connections
   18   between Fish Market and subsequent works in which they have no apparent interest.
   19   According to Plaintiffs, an “alternative mix” of the Fish Market musical composition
   20   (work A) was incorporated in “Dem Bow’s instrumental” (work B). (See SCAC ¶ 181.)
   21   The Dem Bow instrumental is purportedly “based on” the Fish Market composition,
   22   although the SCAC does not show how the Dem Bow composition is similar to the Fish
   23   Market composition or which original elements of Fish Market are incorporated into
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   25
        7
         As an aid to the Court, the Akley Declaration contains Exhibit 4, a “Schedule of ‘Songs’
        At Issue and Bases for Dismissal,” as a roadmap linking specific works and specific
   26   defendants to each basis for dismissal set forth in this Memorandum. Exhibit 4 is derived
   27   primarily from SCAC Ex. A, supplemented to reflect additional “songs” named in the
        SCAC but not included on SCAC Ex. A.
   28
                                              12
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 26 of 44 Page ID #:3051




    1   Dem Bow. (See id.) They also do not mention that their registration on Dem Bow is
    2   limited to lyrics.
    3          Plaintiffs then extend their chain, alleging that the Dem Bow instrumental was
    4   included in the Pounder Dub Mix II (work D) by virtue of Halliburton’s work, Pounder
    5   Riddim (work C). (See id. ¶ 182 (“The Pounder Riddim was then used to create the
    6   sound recordings of Ellos Benia, a Spanish language version of ‘Dem Bow,’ and
    7   Pounder Dub Mix II (‘Pounder’).”)          Pounder Riddim (work C) is allegedly an
    8   “instrumental version” of the Dem Bow instrumental (work B) that allegedly
    9   incorporates Fish Market (work A). (See id. ¶¶ 182-183.) While Plaintiffs claim the
   10   Pounder Riddim composition is “virtually identical” to Fish Market (id. ¶ 184), they
   11   offer no comparison of the two works, despite purporting to do so (id. ¶ 188). Moreover,
   12   they have never claimed any interest in Pounder Riddim (or in Pounder Dub Mix II) in
   13   the last 33 years.
   14          Plaintiffs do not own Pounder Riddim, never claimed it was a derivative work
   15   nor sued Halliburton for infringement. (Id. ¶¶ 182, 200.) Yet they now claim that any
   16   copying of any portion of work C (Pounder Riddim) also necessarily infringes either
   17   work A (Fish Market) or work D (Pounder Dub Mix II). (Id. ¶¶ 184, 188 (“Any
   18   copying, interpolating, or sampling of the Pounder Riddim is a copying or interpolation
   19   of Fish Market’s composition”), ¶ 188, n. 5, ¶ 226.)
   20          Through their linkage of works – i.e., an “alternative mix” of work A was
   21   incorporated in an “instrumental version” of work B, which was performed in work C,
   22   which was then included in work D – Plaintiffs, despite having no interest in B, C or D
   23   (other than lyrics in B), now claim ownership of all “reggaeton” music created over the
   24   last 30 years. Ignoring the estoppel and implied license problems created by Plaintiffs’
   25   30 years of inaction (see Section III.G, infra), Plaintiffs’ transitive infringement theory
   26   is legally deficient.
   27          First, Plaintiffs do not even purport to own and therefore cannot sue for
   28   infringement of work C (Pounder Riddim). (Id. ¶¶ 226-227.) Plaintiffs also lack
                                        13
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 27 of 44 Page ID #:3052




    1   standing to sue on work D (Pounder Dub Mix II), and cannot claim ownership for
    2   anything but the lyrics of work B (Dem Bow). That leaves Plaintiffs with only Fish
    3   Market and the lyrics of Dem Bow.
    4         Second, Plaintiffs’ linkage theory obscures what is protectable in the works they
    5   do own and which works copy what elements in those works. In many instances, the
    6   claimed infringement is based on mixing and matching different elements of works A,
    7   B and D.8 But the SCAC fails to identify what element of what work Plaintiffs do own
    8   is being infringed (and how).
    9         To satisfy FRCP 8 and FRCP 12(b)(6), Plaintiffs must plead infringement of their
   10   protected original expression. (See Section II.B, supra and cases cited.) In music
   11   cases, the courts recognize the “limited number of expressive choices available” to
   12   composers, Gray v. Hudson, 28 F.4th 87, 102 (9th Cir. 2022), and “the resulting fact
   13   that common themes frequently appear in various compositions, especially in popular
   14   music.” Newton v. Diamond, 204 F. Supp. 2d 1244, 1253 (C.D. Cal. 2002). Moreover,
   15   as noted above, plaintiffs are also required to plead which portions of each allegedly
   16   infringing work includes protectable (i.e., original) elements of their copyrighted
   17   works. See Hayes, 2012 WL 12887393, at *5; Shaheed-Edwards, 2017 WL 6403091,
   18   at *3; Blizzard Ent., Inc., 2018 WL 1242053, at *3-5.
   19         Plaintiffs cannot satisfy the pleading requirements by simply presuming that the
   20   alleged copying of a work on which they have no standing to sue (Pounder Dub Mix
   21   II), which allegedly copies a work they do not own (Pounder Riddim), somehow
   22   infringes a work they do own (Fish Market). Put differently, Plaintiffs cannot claim
   23   infringement based on the alleged copying of work C (Pounder Riddim) or D (Pounder
   24   Dub Mix II) without pleading and proving either ownership of those works or that those
   25
   26   8
          For example, Luis Fonsi’s Impossible is alleged to infringe Plaintiffs’ works by either
   27   sampling or interpolating Pounder Dub Mix II’s rhythm section, and using a bass “with
   28   a similar texture” to the beats used in the Fish Market composition. (See SCAC ¶ 226.)
                                             14
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 28 of 44 Page ID #:3053




    1   works copied protected original expression of Fish Market or Dem Bow’s lyrics.
    2   Plaintiffs cannot claim that any sound recording that sampled Pounder Dub Mix II –
    3   which they cannot sue on – also infringes Fish Market “by extension.”9 Rather, they
    4   have to identify what in each of the allegedly infringing works copies what protectable
    5   elements of Pounder Dub Mix II, and what in Pounder Dub Mix II copies what
    6   protectable elements in Fish Market and how they have rights in each work. Merely
    7   conclusorily claiming rights and infringement through a daisy chain of alleged
    8   “derivative” works is not sufficient. See, e.g., Johnson v. Gordon, 409 F.3d 12, 19-
    9   20 (1st Cir. 2005) (a plaintiff “may bring a suit for unauthorized distribution of an
   10   unregistered derivative work” only if “the suit is based on elements ‘borrowed’ from a
   11   registered underlying work and not on elements original to the derivative work”);
   12   Merchant Transaction Sys., Inc. v. Nelcela, Inc., No. CV 02-1954-PHX-MHM, 2009
   13   WL 2355807, at *3 (D. Ariz., July 28, 2009).
   14         Accordingly, beyond the impropriety of Plaintiffs’ disjunctive assertion that one
   15   or more Defendants sampled or copied from either “Pounder and/or Fish Market,” the
   16   SCAC’s claims that Fish Market was infringed through alleged copying of Pounder
   17   Dub Mix II, or Pounder Riddim, or the music of Dem Bow fails to satisfy pleading
   18   requirements. This pleading deficiency compels the dismissal of claims against 83
   19   Defendants as to 127 works under FRCP 12(b)(6). (See Akley Decl., Ex. 4, (“§IV.B –
   20   Chain Infringement Theory”).)
   21   C.    The SCAC Fails To Distinguish Between Sound Recordings And Musical
   22         Compositions
   23         To the extent that Plaintiffs are alleging infringement of a sound recording, such
   24   claims should be dismissed.
   25
   26   9
          See e.g., SCAC ¶ 311 (“Specifically, [the allegedly infringing work] incorporates a
        sample taken directly from Pounder and, by extension, Fish Market.”); ¶ 312 (same);
   27
        ¶¶ 316-19 (same); ¶¶ 321-22 (same); ¶ 361 (same); ¶ 372 (same); ¶¶ 492-495 (same); ¶
   28   497 (same); ¶ 559 (same).)
                                            15
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 29 of 44 Page ID #:3054




    1         First, Plaintiffs do not claim to own the sound recordings for either Dem Bow or
    2   Pounder Riddim, only Fish Market, and the belated registration of Pounder Dub Mix II
    3   requires the dismissal of all claims based thereon. Thus, all sound recording claims
    4   except as to Fish Market should be dismissed.
    5         Second, as to the Fish Market sound recording, Plaintiffs improperly plead that
    6   either the Fish Market musical composition “and/or” the Fish Market sound recording
    7   have been infringed. (See, e.g., SCAC ¶¶ 204, 219, 277, 299, 300.) See, e.g., Anthony
    8   v. Pro Custom Solar, LLC, No. ED CV 20-01968 JAK (KKx), 2022 WL 1634870, at
    9   *4 (C.D. Cal. Jan. 21, 2022) (finding “and/or” allegations insufficient because it alleged
   10   one of two possibilities); Steel Warehouse Cleveland, LLC v. Velocity Outdoor, Inc.,
   11   No. 1:22-cv-01900, 2023 WL 2264257, at *2 (N.D. Ohio Feb. 28, 2023).
   12         Third, contrary to the allegations of the SCAC (i.e., SCAC ¶ 194), Exhibit A
   13   provides no information as to whether the Defendants’ “songs”10 infringed Plaintiffs’
   14   musical compositions or sound recordings. Column four of Exhibit A confusingly says
   15   that the “Basis of Infringement” is a “Sample that copies composition and copied
   16   composition.”11
   17         The SCAC’s failure to specify whether Plaintiffs’ works were infringed by sound
   18   recordings or musical compositions fails to comply with FRCP 8.12 “Sound recordings
   19   and their underlying musical compositions are separate works with their own distinct
   20
        10
          The term “songs” refers to musical compositions, not sound recordings. However, the
   21   “Involved Defendants” listed in column three of Exhibit A include both record labels –
   22   which own sound recordings – and music publishers – which own musical compositions.
   23
        11
          A “sample” refers to the exact duplication of a portion of one sound recording in
        another sound recording. See generally Newton v. Diamond, 388 F.3d 1189, 1190 (9th
   24   Cir. 2004), cert. denied, 545 U.S. 1114 (2005); Fharmacy Recs. v. Nassar, 248 F.R.D.
   25   507 (E.D. Mich. 2008), aff'd, 379 F. App’x 522 (6th Cir. 2010).
   26
        12
          5 Wright and Miller, Federal Practice and Procedure § 1285 (3d Ed. 2004) (“A party
        should not set forth inconsistent, or alternative, or hypothetical statements in the
   27   pleadings unless, after a reasonable inquiry, the pleader legitimately is in doubt about
   28   the factual background or legal theories supporting [his] claims …”).
                                              16
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 30 of 44 Page ID #:3055




    1   copyrights.” Drive-In Music Co., Inc. v. Sony Music Ent., No. CV 10-5613 CAS
    2   (JCGx), 2011 WL 13217236, at *3 (C.D. Cal. Apr. 18, 2011); see also Newton, 204 F.
    3   Supp. 2d at 1248-49 (same).13
    4         Sound recordings and musical compositions are also owned by separate
    5   Defendants and the rights protected are totally different. “The exclusive right of the
    6   owner of a copyright in a sound recording . . . is limited to the right to duplicate the
    7   sound in the form of phonorecords or copies that directly or indirectly recapture the
    8   actual sounds fixed in the recording.” 17 U.S.C. § 114(b). “The exclusive rights of
    9   the owner of copyright in a sound recording . . . do not extend to the making or
   10   duplication of another sound recording that consists of an entirely independent fixation
   11   of other sounds, even though such sounds imitate or simulate those in the copyrighted
   12   sound recording.” Id.; accord 2 Nimmer on Copyright, § 8.05[A] (2021) (explaining
   13   that “mere similarity due to imitation will not suffice to establish infringement”). Thus,
   14   where the complaint does not allege that the actual sounds fixed in the sound recording
   15   were duplicated, the complaint will be dismissed. See Marshall v. Huffman, No. C 10-
   16   1665 SI, 2010 WL 5115418, at *4 (N.D. Cal. Dec. 9, 2010); see also, e.g., Drive-In
   17   Music, 2011 WL 13217236, at *4; Zany Toys, LLC v. Pearl Enters., LLC, No. 13-5262
   18   (JAP)(TJB), 2014 WL 2168415, at *12 (D. N.J. May 23, 2014).
   19         Even where the SCAC alleges that the Fish Market sound recording has been
   20   sampled or reproduced, Plaintiffs’ allegations consist solely of a conclusory assertion
   21   that the allegedly infringing work “incorporates an unauthorized sample of the Fish
   22
        13
            See U.S. Copyright Office, Circular 50: Copyright Registration for Musical
   23
        Compositions,           at        1-2         (Mar.         2023),       available        at
   24   https://www.copyright.gov/circs/circ50.pdf (“A musical composition and a sound
        recording are two separate works. A registration for a musical composition covers the
   25
        music and lyrics, if any, embodied in that composition, but it does not cover a recorded
   26   performance of that composition. For example, the song ‘Rolling in the Deep’ and a
        recording of Aretha Franklin singing ‘Rolling in the Deep’ are two distinct works. The
   27
        song itself (i.e., the music and the lyrics) is a musical composition, and a recording of an
   28   artist performing that song is a sound recording.”).
                                                 17
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 31 of 44 Page ID #:3056




    1   Market recording.” (See, e.g., SCAC ¶¶ 299, 303, 307, 323, 327, 368, 379, 383, 387,
    2   391, 395, 399, 403, 407, 411, 415, 419, 423, 427, 431, 448, 452, 464, 468, 472, 476,
    3   480, 488, 502, 506, 510, 534, 538, 580, 584, 588, 592, 596, 600, 604, 608, 612, 616,
    4   633, 637, and 641.) Plaintiffs must identify, but have not, specific, protectable portions
    5   of the Fish Market recording that they claim were duplicated in each specific allegedly
    6   infringing recording. See, e.g., Zany Toys, LLC, 2014 WL 2168415, at *12; Marshall,
    7   2010 WL 5115418, at *4; Lafarga v. Lowrider Arte Mag., No. SACV 11-1501-DOC
    8   (MLGx), 2014 WL 12573551, at * 3 (C.D. Cal. July 18, 2018) (complaint must plead
    9   “what specific material is copyrighted and what of defendants’ work infringes”).
   10         The SCAC’s failure to sufficiently plead a claim for infringement of a sound
   11   recording Plaintiffs own requires the dismissal of claims against 46 Defendants as to 59
   12   works. (See Akley Decl., Ex. 4, (“§IV.C – Failure to Allege Duplication of Owned or
   13   Timely-Registered Sound Recording”).)
   14   D.    Even For Works Alleged To Infringe Timely-Registered Copyrights,
   15         Plaintiffs Fail To Satisfy The Relevant Pleading Standards
   16         Even where Plaintiffs plead ownership and standing – e.g., the Fish Market
   17   composition, the Fish Market sound recording, and the lyrics of the Dem Bow
   18   composition – they fail to plead any claim for infringement.
   19         1.     Pleading By Exhibit.
   20         For 42 Defendants, there are no factual allegations setting forth how any of
   21   these Defendants allegedly infringed any of Plaintiffs’ copyrighted works. Instead,
   22   Plaintiffs merely name these Defendants in Exhibit A and in the caption and allege their
   23   residency “upon information and belief.” But Exhibit A lacks any factual allegations
   24   of infringement, failing to satisfy the pleading standards. See Iqbal, 556 U.S. at 678.
   25   Plaintiffs’ claims against these 42 Defendants should be dismissed. (See Akley Decl.,
   26   Ex. 4, (“§IV.D.1A –Involving At Least One Defendant for Which The SCAC Contains
   27   No Factual Allegations”).)
   28
                                              18
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 32 of 44 Page ID #:3057




    1         For other works, Plaintiffs either only list the allegedly infringing work on
    2   Exhibit A (see, e.g., SCAC ¶¶ 470-473; 478-481; 582-585), or claim “the various
    3   defendants responsible for each of the identified works and the manner of copying are
    4   described in the accompanying Exhibit A.” (See, e.g., id. at ¶¶ 473; 481; 585.) But
    5   Exhibit A fails to describe any manner of copying nor does it identify what was copied
    6   in the infringed or allegedly infringing work, as required by Twombly and the authorities
    7   cited at Section II, supra.14 The deficiency and unintelligibility of the information set
    8   forth in Exhibit A is exemplified by the following excerpt:
    9
   10    Primary       Song           Involved                   Basis of Infringement
         Artist                       Defendants
   11
         Pitbull       Borracha (Pero SONY, Mr 305,              Copied Composition
   12                  Buena          Pitbull
   13                  Muchacha)
         Pitbull       Chi Chi Bon       SML, MR 305,            Copied Composition
   14
                       Bon               SMP, SonyATV
   15    Pitbull       Como Yo Le        SML, Mr 305,            Sample that copies
   16                  Doy               PeerMusic, Sony         composition and copied
                                         ATV, Pitbull            composition
   17
         Pitbull       El Party          SML, Mr 305,            Sample that copies
   18                                    SMP, SonyATV,           composition and copied
   19                                    Pitbull                 composition
   20
   21   (SCAC, Ex. A at 23.)
   22         As this excerpt illustrates, Exhibit A names multiple Defendants and
   23   disjunctively lists the “Basis of Infringement” as “Copied Composition,” or “Sample
   24   that copies composition and copied composition” (itself incomprehensible). It does not
   25   identify which of Plaintiffs’ copyrighted works (if any) were allegedly infringed by
   26   which Defendant or what protectable elements were infringed by each Defendant. See
   27   14
         Exhibit A also fails to specify whether the infringing work is a sound recording or
   28   musical composition and what work was infringed.
                                           19
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 33 of 44 Page ID #:3058




    1   Martinez v. Robinhood Crypto, LLC, No. 2:22-cv-2651-AB-KS, 2023 WL 2836792, at
    2   *4 (C.D. Cal. Feb. 28, 2023) (Birotte, J.) (dismissing complaint that grouped together
    3   defendants without identifying what the particular defendants specifically did wrong).
    4         Exhibit A fails to provide Defendants with notice of which works are infringed;
    5   what elements were infringed; and what parts of Defendants’ works (and whether sound
    6   recordings or compositions) are infringing, instead concealing whether claims are
    7   based on a work Plaintiffs do not own (i.e., the Dem Bow sound recording, the Pounder
    8   Riddim sound recording, or any portion of the Dem Bow musical composition other than
    9   the lyrics) or a work that Plaintiffs have no standing to pursue (Pounder Dub Mix II).
   10         Pleading by exhibit fails to satisfy FRCP 8 and 12(b)(6). See Sections II and III,
   11   supra, and cases cited; see also Lynwood Invs. CY Ltd. v. Konovalov, No. 20-cv-03778-
   12   MMC, 2022 WL 3370795, at *19-20 (N.D. Cal. Aug. 16, 2022); Richtek Tech. Corp. v.
   13   UPI Semiconductor Corp., No. C 09-05659 WHA, 2011 WL 166198, at *3 (N.D. Cal.
   14   Jan. 18, 2011); Synopsys, Inc. v. AtopTech, Inc., No. C 13-cv-02965 SC, 2013 WL
   15   5770542, at *4 (N.D. Cal. Oct. 24, 2013); Plakhova v. Hood, No. CV 16-08245 TJH
   16   (FFMx), 2017 WL 10592315, at *1 (C.D. Cal. June 20, 2017) (in the context of
   17   copyright infringement, “specificity requires the complaint to identify the exact works
   18   copied, and list the identifiable instances of copying”).
   19         Plaintiffs’ pleading by exhibit is deficient and requires the dismissal of claims
   20   against 266 Defendants as to 1,528 works. (See Akley Decl., Ex. 4, (“§IV.D.1B –
   21   Improper Pleading by Exhibit”).)
   22         2.     Deficient Allegations Of The Infringement Of The Fish Market
   23                Composition.
   24         The SCAC provides transcriptions showing alleged similarities for only 33 of the
   25   1,821 to 4,000 allegedly infringing works. (See, e.g., SCAC ¶¶ 221-229; 279-296; 336-
   26   344.) Plaintiffs thus deliberately did not properly plead for virtually all of the allegedly
   27   infringing works.
   28
                                               20
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 34 of 44 Page ID #:3059




    1            For over 1,600 works, the SCAC lacks any non-conclusory allegations of
    2   infringement.      Instead, often using the improper “and/or” allegation, Plaintiffs
    3   conclusorily state those works “incorporate . . . a verbatim copy of the Fish Market
    4   Composition as the primary rhythm/drum section.” See, e.g., SCAC ¶ 379 (“Each of
    5   the Becky G Works incorporates an unauthorized sample of Fish Market and/or a
    6   verbatim copy of the Fish Market composition as the primary rhythm / drum section of
    7   each work.”).
    8            Such conclusory allegations do not satisfy Twombly, which requires a plaintiff to
    9   identify in its pleading “which portions, aspects, lyrics or other elements of the two
   10   works are substantially similar,” and to “compar[e] those elements for proof of
   11   copying.’” Hayes, 2012 WL 12887393, at *5; see also Section II, supra, and cases
   12   cited.
   13            The SCAC’s failure to identify the alleged similarities of Defendants’ works to
   14   the Fish Market composition requires the dismissal of claims against 271 Defendants
   15   as to 1,685 works. (See Akley Decl., Ex. 4 (“§IV.D.2 – No Similarity to Fish Market
   16   Composition Identified”).)
   17            3.    Deficient Allegations Of The Infringement Of The Fish Market Sound
   18                  Recording
   19            Defendants have already explained above why Plaintiffs’ sound recording claim
   20   does not satisfy the Twombly standard, requiring the dismissal of claims against 264
   21   Defendants as to 1,687 works. (See Akley Decl., Ex. 4 (“§IV.D.3 – Deficient
   22   Allegations of Infringement of the Fish Market Sound Recording”).)
   23            4.    Deficient Allegations Of The Infringement Of The Lyrics Of The Dem
   24                  Bow Composition
   25            Plaintiffs’ registration is only for the Dem Bow lyrics and while the SCAC claims
   26   that certain works have copied Dem Bow’s lyrics (SCAC ¶¶ 665-666), not a single
   27   lyrical similarity is identified, requiring the dismissal of these claims. For example,
   28   Plaintiffs assert that the songs “Calenton” and “Golpe de Estado” “include[] elements
                                               21
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 35 of 44 Page ID #:3060




    1   that are substantially similar if not virtually identical to significant portions of Dem
    2   Bow.” (See SCAC. ¶¶ 273-275) But no lyrical similarities are identified. See Chestang
    3   v. Yahoo Inc., No. 2:11-cv-00989-MCE-KJN PS, 2012 WL 3915957, at *4 (C.D. Cal.
    4   Sept. 7, 2012) (dismissing lyric infringement claim where complaint did "not identify
    5   which particular lyrics were allegedly used” (emphasis in original)).
    6         Plaintiffs’ failure to identify the supposed lyrical similarities in Defendants’
    7   works requires the dismissal of claims against 23 Defendants as to 12 works. (See
    8   Akley Decl., Ex. 4 (“§IV.D.4 – No Similarity to Dem Bow Lyrics Identified”).)
    9   E.    The SCAC Is The Quintessential “Shotgun Pleading.”
   10         The SCAC is replete with confusing, inconsistent, and conclusory allegations,
   11   making it impossible for Defendants to respond to the claims against them. Such
   12   “shotgun pleadings are pleadings that overwhelm defendants with an unclear mass of
   13   allegations that make it difficult or impossible for defendants to make informed
   14   responses to the plaintiff’s allegations. They are unacceptable.” Martinez, 2023 WL
   15   2836792, at *4 (Birotte, J.); see also Fournerat, 2020 WL 541838, at *3 (Birotte, J.)
   16   (“Prolix, confusing complaints … impose unfair burdens on litigants and judges . . .”
   17   (quoting McHenry v. Renne, 84 F.3d 1172, 1179-80 (9th Cir. 1996))).
   18         Here, the shotgun pleading masks which works Plaintiffs do not own, which
   19   elements are protectable, and what works infringe such elements. To illustrate, 24 of
   20   Juan Carlos Ozuna Rosado’s works are identified in the SCAC, but none are listed in
   21   Exhibit A. (Compare SCAC ¶¶ 556-577, with SCAC Ex. A at 21-22; see also, e.g.,
   22   “Nicky Jam Allegations” SCAC ¶¶ 545-555 (34 songs alleged in SCAC excluded from
   23   Ex. A); “Zion & Lennox Allegations” SCAC ¶¶ 643-647 (27 works alleged in SCAC
   24   excluded from Exhibit A); “Zion Allegations” SCAC ¶¶ 639-642 (entirely excluded
   25   from Ex. A).
   26         Conversely, as noted above, numerous Defendants are mentioned in Exhibit A,
   27   without any accompanying allegations of infringement in the SCAC. The SCAC makes
   28   it impossible to know what protectable elements in works owned by Plaintiffs are
                                          22
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 36 of 44 Page ID #:3061




    1   allegedly infringed and what it is in Defendants works, whether compositions or sound
    2   recordings, that is infringing. In short, the SCAC generally violates Rule 8 and is
    3   defective for that reason as well. 15
    4   F.    In The Few Instances Where Plaintiffs Identify Alleged “Similarities”
    5         Between A Defendant’s Work And Fish Market, The Allegations Concern
    6         Non-Protectable Elements And Demonstrate No Similarity
    7         For the 33 works for which Plaintiff provided transcriptions (see SCAC ¶¶ 221-
    8   229; 280-296; 336-344), the alleged similarities are not protectable under copyright.
    9         For these works, Plaintiffs point to alleged similarities in the particular type of
   10   instrument being played, or the “sonic characteristics” of the instrumentation. (See,
   11   e.g., SCAC ¶ 180 (referring to use in Fish Market of “percussion instruments”); ¶ 648
   12   (same); ¶ 221 (alleging that “kick, snare, hi-hat, and bass are prominent in the mix of
   13   [the allegedly infringing work], which emulates the sonic texture of Fish Market”);
   14   ¶ 222 (same): ¶ 223 (same); ¶ 288 (same, and referring also to “identifiable factors of
   15   drum pattern, drum sound and instrumentation”); ¶ 292 (same); ¶ 285 (“the bongo drum
   16   serves well at capturing the overall feel and sonic characteristics found in Fish
   17   Market”); ¶ 286 (work “emulates the sonic characteristics of Fish Market with use of
   18   similar instruments”).)
   19         The instrumental choices are not part of the musical composition copyright. See
   20   Gray, 28 F.4th at 99 (“[T]he choice of a particular instrument . . . to play a tune relates
   21   to the performance or recording of a work” and not to the musical composition
   22   underlying such performance or recording, “which are protected by distinct
   23   copyrights”); id. (“[A] copyright to a musical work does not give one the right to assert
   24   ownership over the sound of a synthesizer any more than the sound of a trombone or a
   25   banjo.”). So-called “sonic characteristics” of a work are also not protectable elements
   26
   27   15
          Because this argument applies to Plaintiffs’ entire SCAC, Exhibit 4 to the Akley Decl.
   28   does not specify the works or Defendants because it applies to all.
                                             23
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 37 of 44 Page ID #:3062




    1   of a musical composition. See Gray, 28 F.4th at 99 (“timbre is a way of describing a
    2   sound’s quality” and is thus compositionally irrelevant). And absent duplication of the
    3   recording, emulating the sound is not infringement. (See Section III.C, supra and cases
    4   cited.)
    5             With respect to these 33 works, Plaintiffs also point to purported similarities in
    6   drum patterns. But the transcribed drum beats purportedly contained in Fish Market
    7   and Besame show that the only “similarities” are that the kick drum in both works are
    8   playing a basic quarter note pattern in 4/4 time. (See SCAC ¶ 221). Similarly, the
    9   transcribed drum beats purportedly contained in Fish Market and Calypso show that the
   10   only “similarities" are that the kick drum in both works are playing a basic quarter note
   11   pattern in 4/4 time. (See SCAC ¶ 222).
   12             But rhythm and tempo, as a matter of law, are commonplace and unprotectable.
   13   See, e.g., Lane v. Knowles-Carter, 14 CIV. 6798 PAE, 2015 WL 6395940, at *5
   14   (S.D.N.Y. Oct. 21, 2015) (“meter and tempo” and “common rhythms [and] song
   15   structures” not protectable); Currin v. Arista Recs., Inc., 724 F. Supp. 2d 286, 291
   16   (S.D.N.Y. Apr. 15, 2010 (“courts have held that certain commonly-used elements such
   17   as . . . the use of the eight-measure phrase, or the use of 4/4 rhythm, are not, in
   18   themselves, protectable”); Rose v Hewson, No. 17-cv-1471, 2018 WL 626350, at *7
   19   (S.D.N.Y. Jan. 30, 2018) (“general rhythmic style” not protectable); McDonald v. West,
   20   138 F. Supp. 3d 448, 458 (S.D.N.Y. 2015), aff'd, 669 Fed. Appx. 59 (2d Cir. 2016)
   21   (neither tempo nor a “rhythm’s style or general feel” are copyrightable”); Batiste v.
   22   Najm, 28 F. Supp. 3d 595, 616 (E.D. La. 2014) (“courts have been consistent on finding
   23   rhythm to be unprotectable.”); see also Skidmore, 952 F.3d at 1070 (“‘[A] musical
   24   building block . . . is something that no one can possibly own.’”).
   25             In Gray v. Perry, No. 2:15-CV-05642-CAS-JCx, 2020 WL 1275221, at *4-5
   26   (C.D. Cal. Mar. 16, 2020), aff’d, 28 F.4th 87 (9th Cir. 2002), the court noted that “many
   27   if not most of the elements that appear in popular music are not individually
   28   protectable,” and stated that “[m]usical elements that are ‘common or trite’ – such as
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 38 of 44 Page ID #:3063




    1   the ‘use of a long-short-long rhythm’ . . . certain ‘tempos,’ . . . the alternating
    2   ‘emphasis of strong and weak beats,’ ‘syncopation,’ . . . or the use of ‘basic musical
    3   devices in different manners,’ . . . are, accordingly, not protectable.” Id. (citing cases).
    4   “Nor are other elements ‘ubiquitous in popular music’ like ‘rhythms,’ ‘glissando[s],’
    5   ‘chants,’ ‘the use of horns,’ or ‘jingling or pulsing synthesizer element[s]’ entitled to
    6   protection. Id. (citing cases).
    7         In addition to having no claim to the instruments used to play a musical work, or
    8   to tempo or rhythm, the comparative transcriptions show that the alleged similarities
    9   between the allegedly infringing works and Fish Market are non-existent. For example,
   10   the rhythmic pattern being played by the tom, snare, hi hat and bass in Besame are
   11   materially different than the pattern being played by those instruments in Fish Market.
   12   Further, there are no tambourine or timbale rhythms in Besame. The transcriptions
   13   reveal that the Besame drum beats are not similar (let alone substantially similar) to the
   14   Fish Market drum beat. The rhythmic pattern being played by the snare, hi hat and bass
   15   in Calypso are different than the pattern being played by those instruments in Fish
   16   Market. There are no hi hat, tom, tambourine or timbale rhythms in Calypso. The
   17   transcriptions reveal that the drum beats are not even similar (let alone substantially
   18   similar) to the transcribed Fish Market drum beat. A review of the other comparative
   19   transcription pairs (SCAC ¶¶ 223-229; 280-296; 336-344) shows the same lack of
   20   similarity to any protectable element of Fish Market.
   21         Here, based on Plaintiffs’ own transcriptions, no reasonable juror could find any
   22   actionable similarity between any protectable element of Fish Market and any of the 33
   23   works for which transcriptions were provided in the SCAC.16              Plaintiffs’ claims
   24
        16
           See, e.g., Christianson v. West Pub. Co., 149 F.2d 202, 203 (9th Cir. 1945) (“There is
   25
        ample authority for holding that when the copyrighted work and the alleged infringement
   26   are both before the court, capable of examination and comparison, non-infringement can
        be determined on a motion to dismiss.”); Steward v. West, CV13-02449 BRO (JCx),
   27
        2014 WL 12591933, at *10 (C.D. Cal Aug. 14, 2014) (granting 12(c) motion because
   28   “it is clear from the recordings that ‘the average audience, or ordinary observer,’ would
                                                25
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 39 of 44 Page ID #:3064




    1   concerning these 33 works should also be dismissed. (See Akley Decl., Ex. 4 (“§IV.F
    2   –No Substantial Similarity to Protectable Elements of Fish Market Composition”).)
    3   G.    Plaintiffs’ Inaction For Thirty Years Bars Their Claims And Remedies
    4         Plaintiffs neither filed any action nor registered any copyrights until 2020 – at
    5   least thirty years after the creation of the works.     That failure raises estoppel and
    6   implied license issues.
    7         The doctrine of equitable estoppel bars Plaintiffs’ claims for infringement. “The
    8   gravamen of estoppel . . . is misleading and consequent loss.” Petrella v. Metro-
    9   Goldwyn-Mayer, Inc., 134 S. Ct. 1962, 1977 (2014); see also Interscope Recs. v. Time
   10   Warner, Inc., CV 10-1662 SVW (PJWx), 2010 WL 11505708, at *12 (C.D. Cal. June
   11   28, 2010) (“A copyright holders’ silence or inaction in the face of an infringement can
   12   give rise to an estoppel defense, particularly where such inaction is prolonged.”);
   13   Tavory v. NTP, Inc., 495 F. Supp. 2d 531, 537 (E.D. Va. 2007) (precluding infringement
   14   claim on equitable estoppel grounds where “Plaintiff’s delay in asserting his authorship
   15   has been excessive and unreasonable”), aff’d, 297 F. App’x 976 (Fed. Cir. 2008); Field
   16   v. Google, 412 F. Supp. 2d 1106, 1117 (D. Nev. 2006) (“A plaintiff is estopped from
   17   asserting a copyright claim if he has aided the defendant in infringing or otherwise
   18   induced it to infringe or has committed overt acts such as holding out . . . by silence or
   19   inaction”).
   20         Beyond their failure to register any claim to the Fish Market composition, sound
   21   recording and lyrics of Dem Bow, Plaintiffs never sued Halliburton over Pounder
   22   Riddim, which Plaintiffs now claim is a “derivative work” of either Fish Market or Dem
   23   Bow (SCAC ¶ 182) and which Plaintiffs allege they knew of at creation (Plaintiff Barrett
   24   is alleged to have “directed” its creation) (id.). And as noted above, they had no right
   25   to register Pounder Dub Mix II in March 2023.
   26
   27
   28   not recognize these works as the same.”).
                                            26
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 40 of 44 Page ID #:3065




    1         These failures constitute misleading inaction, during which an entire genre of
    2   reggaeton music developed, which Plaintiffs now claim to own. At the least, this
    3   inaction should bar Plaintiffs’ claims with respect to works created prior to 2020 or that
    4   include Pounder Riddim, or bar Plaintiffs’ claims to injunctive relief or limit
    5   profits. See Petrella, 134 S. Ct. at 1978-79 (“in awarding profits, account may be taken
    6   of copyright owner’s inaction until infringer had spent large sums exploiting the work
    7   at issue,” citing Haas v. Leo Feist, Inc., 234 F. 105, 107–108 (S.D.N.Y. 1916)).17
    8         Moreover, Section 412 precludes an award of statutory damages or attorneys’
    9   fees for any alleged infringement of copyright “commenced after first publication of the
   10   work, and before the effective date of its registration, unless such registration is made
   11   within three months after the first publication of the work.” Plaintiffs did not register
   12   any claim to any work until over thirty years after the work’s creation. (Akley Decl.
   13   Exs. 1-3; SCAC ¶¶ 179-182). And nowhere in the SCAC do Plaintiffs identify when
   14   any act of infringement is alleged to have occurred.
   15   H.    Plaintiffs Fail To State A Claim For Secondary Liability.
   16         Plaintiffs’ secondary liability claims for vicarious and contributory copyright
   17   infringement are at least as defective as their direct infringement claims.
   18         A claim for contributory infringement must plead that a defendant “(1) has
   19   knowledge of a third party’s infringing activity, and (2) induces, causes, or materially
   20   contributes to the infringing conduct.” Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494
   21   F.3d 788, 794 (9th Cir. 2007). Alternatively, to show that a defendant is vicariously
   22   liable for copyright infringement, the plaintiff must allege that “(1) the defendant
   23   controls the underlying infringement, and has a right and the ability to supervise the
   24   conduct and (2) the defendant has a direct financial interest in the infringing activity.”
   25
   26
   27   17
          Laches remains applicable to bar requests for injunctive relief (SCAC, “Prayer for
   28   Relief,” at p. 227.) See Petrella, 134 S. Ct. at 1968.
                                              27
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 41 of 44 Page ID #:3066




    1   Sound & Color, LLC v. Smith, No 2:22-cv-01508-AB (ASx), 2023 WL 2821881, at *15
    2   (C.D. Cal. Feb. 28, 2023) (Birotte, J.) (quoting Perfect 10, Inc., 494 F.3d at 795)).
    3         Without particularization and on information and belief, Plaintiffs allege that
    4   “Defendants knowingly induced, participated in, aided and abetted in and profited from
    5   the illegal reproduction, distribution and publication of the Infringing Works.” (SCAC
    6   ¶ 679.) Plaintiffs further allege that an amorphous group of “producers (including, but
    7   not limited to Sony, Ultra, UMG) underwrote, facilitated, and participated in the illegal
    8   copying and infring[ement].” (Id.) Plaintiffs further allege, on information and belief,
    9   that “Defendants and each of them, are vicariously liable for the infringement” because
   10   “they had the right and ability to supervise the infringing conduct and because they had
   11   a direct financial interest in the infringing conduct.” (SCAC ¶ 680.)
   12         These conclusory allegations do not state a claim for secondary liability. First,
   13   one must plead an underlying infringement.          “Secondary liability for copyright
   14   infringement does not exist in the absence of direct infringement by a third party.”
   15   A&M Recs. v. Napster, Inc., 239 F.3d 1004, 1013 n.2 (9th Cir. 2000). As shown above,
   16   because Plaintiffs have not pleaded any viable claim of direct infringement, their
   17   vicarious infringement claim fails. See BWP Media USA, Inc. v. Linkbucks.com, LLC,
   18   CV 14-689-JFW (SHx), 2014 WL 12596429, at *3 (C.D. Cal. Aug. 8, 2014) (“[A]ll
   19   theories of secondary liability for copyright . . . infringement require some underlying
   20   direct infringement by a third party.”).
   21         Plaintiffs’ conclusory omnibus-style allegations are also implausible under
   22   Twombly. Plaintiffs allege that over more than 30 years, hundreds of competing
   23   Defendants, scattered around the world, acted in concert to create sound recordings or
   24   musical compositions, in which most of them have no interest. Plaintiffs merely recite
   25   the elements of a claim without any facts linking any Defendants or showing that any
   26   Defendant knew about infringing conduct, induced, caused, or materially contributed to
   27   such conduct, or that any Defendant had the right and ability to supervise any allegedly
   28   infringing conduct. (See id. at ¶¶ 678-683.) Such pleading cannot survive a motion to
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 42 of 44 Page ID #:3067




    1   dismiss. See, e.g., Kilina Am., Inc. v. SA & PW, Inc,. CV 19-03786-CJC (KSx), 2019
    2   WL 8685066, at *3 (C.D. Cal. Aug. 27, 2019); see also Sound & Color, LLC, 2023 WL
    3   2821881, at *15 (dismissing secondary liability claims for failure to allege specific facts
    4   regarding knowledge, material contribution, inducement, or the right and ability to
    5   supervise the infringing conduct).
    6         Plaintiffs generically refer to “Defendants” without pleading who did what and
    7   with respect to whom. Claims for vicarious and contributory liability must be dismissed
    8   where, as here, Plaintiffs assert all of their claims “against all [D]efendants and
    9   allege[]that all [D]efendants engaged in the same broad conduct, without providing
   10   sufficient non-conclusory facts that would assist each [D]efendant in deciphering” the
   11   basis for Plaintiffs’ claims against each of Defendants. See Sound & Color, 2023 WL
   12   2821881, at *16; Culinary Studios, Inc. v. Newsom, 517 F. Supp. 3d 1042, 1074 (E.D.
   13   Cal. 2021) (“A plaintiff who sues multiple defendants must allege the basis of [its]
   14   claims against each defendant.”); Arikat v. JP Morgan Chase & Co., 430 F. Supp. 2d
   15   1013, 1020 (N.D. Cal. 2006) (finding that “plaintiffs' allegations [were] insufficient in
   16   that they [were] ascribed to defendants collectively rather than to individual
   17   defendants”); Fournerat, 2020 WL 541838, at *3 (Birotte, J.) (dismissing complaint
   18   that did not “clearly and concisely identify the nature of each of Plaintiff’s legal claims,
   19   the specific facts giving rise to each claim, and the specific conduct of each Defendant
   20   or Defendants against whom each claim is brought”); see also Kabbaj v. Obama, 568
   21   F. App’x 875, 880 (11th Cir. 2014).
   22         Plaintiffs are required to, and have not, identified some third party direct
   23   infringer before alleging that Defendants are liable for vicarious and contributory
   24   infringement. See A&M Recs., 239 F.3d at 1013 n.2. As this Court has explained, “a
   25   defendant cannot be secondarily liable for their own direct infringement” and a
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Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 43 of 44 Page ID #:3068




    1   plaintiff’s claims for secondary liability must be based on some other infringing
    2   conduct. Sounds & Color, 2023 WL 2821881, at *16.18
    3   V.    CONCLUSION
    4         Plaintiffs have had six opportunities to properly plead claims of infringement
    5   and have failed to do so. For all of the reasons set forth above the SCAC should be
    6   dismissed without leave to further amend. See, e.g., Zeleny, 2022 WL 3013138, at *3
    7   (leave to amend may be denied where plaintiff repeatedly failed to cure deficiencies by
    8   amendments previously allowed) (Birotte, J.).
    9         Alternatively, and at a minimum, the SCAC should be dismissed and Plaintiffs
   10   should be ordered to replead claims for direct infringement solely of Fish Market and,
   11   if any such claim exists, the lyrical elements of Dem Bow, and to plead such claims with
   12   the requisite particularity and specificity. That would include pleading whether each
   13   allegedly infringing work is a sound recording or a musical composition, whether the
   14   infringement is of the Fish Market sound recording (i.e., is a “sample” claim) or musical
   15   composition, what protectable elements of the Fish Market composition or sound
   16   recording are substantially similar to or reproduced in what portions of each allegedly
   17   infringing work, and which defendants engaged in what infringing conduct concerning
   18   each such work.
   19   Dated: June 15, 2023      PRYOR CASHMAN LLP
   20
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   26
        18
          Because this argument should result in the dismissal of all secondary liability claims,
   27
        the Pryor Cashman-Represented Defendants do not refer to the schedule attached as
   28   Exhibit 4 to the Akley Decl. for the specific works and/or defendants affected.
                                              30
Case 2:21-cv-02840-AB-AFM Document 331 Filed 06/15/23 Page 44 of 44 Page ID #:3069




    1                          LOCAL RULE 11.6.2 CERTIFICATION
    2         The undersigned, counsel of record for Pryor Cashman-Represented Defendants,
    3   certifies that this brief contains 9896 words and 30 pages, which complies with the word
    4   limit set by court order dated June 8, 2023.
    5
    6   Dated: June 15, 2023
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    8
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